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 8                                 UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11

12     UNITED STATES OF AMERICA,                        Case No.: CR 20–0065 LHK
13                    Plaintiff,                        [PROPOSED] ORDER APPOINTING
                                                        THE FEDERAL PUBLIC DEFENDER
14            v.
15     ALFREDO VARGAS NAVA,
16                    Defendant.

17

18          GOOD CAUSE APPEARING, it is hereby ordered that the Federal Public Defender’s Office
19   is appointed to represent Alfredo Vargas Nava
20

21          February 9, 2021
            ____________________                ______________________________

22          DATED                               HONORABLE LUCY KOH
                                                United States Senior District Judge
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        CR 18–00224 SI
        [PROPOSED] ORDER APPOINTING FEDERAL PUBLIC DEFENDER
